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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

   CONSTANCE DANIELS,                                         CASE NO.: 8:18-cv-01652-JSM-CPT

          Plaintiff,

   v.

   SELECT PORTFOLIO                                          DEMAND FOR JURY TRIAL
   SERVICING, INC.,

         Defendant.
   ___________________________/
                         PLAINTIFF’S FIRST AMENDED
                  COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

          COMES NOW, Plaintiff, CONSTANCE DANIELS (“Ms. Daniels” or “Plaintiff”),

   by and through the undersigned counsel, and hereby files this First Amended Complaint

   pursuant to Federal Rules of Civil Procedure Rule 15(a)(1)(B) against Defendant, SELECT

   PORTFOLIO SERVICING, INC. (“Defendant”), and in support thereof states as follows:


                                              Introduction
          1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

   by Fla. Stat. § 559.55 (6) and Defendant’s willful violations of the Fair Debt Collection

   Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), and the Florida Consumer Collection

   Practices Act, Fla. Stat. § 559.72 e.t seq. (“FCCPA”), by improperly servicing Ms. Daniels’

   mortgage loan in reckless disregard for Ms. Daniels’ consumer rights, which can reasonably

   be expected to harass Ms. Daniels.




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                                         Jurisdiction and Venue

          2.       This Court has subject matter jurisdiction over the instant case under 28

   U.S.C. §1331 as there exists federal question jurisdiction under the FDCPA.

          3.       Jurisdiction of this Court also arises under 15 U.S.C. § 1692k (d) and Fla.

   Stat. § 559.77 (1).

          4.       Venue lies in this District pursuant to 28 U.S.C. § 1391 (d), as a substantial

   part of the events or omissions giving rise to the claims occurred in this judicial district.

                                                   Parties

          5.       Plaintiff, Constance Daniels, was and is a natural person, and at all times

   material hereto, is an adult, a resident of Hillsborough County, Florida, a “Consumer” as

   defined by 15 U.S.C. § 1692a (3), and a “debtor” or “consumer” as defined by Fla. Stat. §

   559.55 (8).

          6.       At all times material hereto, Defendant was and is a corporation with its

   principal place of business in the state of Utah and its registered agent, CORPORATION

   SERVICE COMPANY, located at 1201 Hays Street, Tallahassee, FL 32301.

          7.       At all times material hereto, Defendant was and is a “Consumer Collection

   Agency” as defined by Fla. Stat. § 559.55 (3) and/or a “Debt Collector” as defined by Fla.

   Stat. § 559.55 (7) and 15 U.S.C.§ 1692a (6).

                                            Statements of Fact

          8.       On January 31, 2005, Ms. Daniels executed and delivered a note and

   mortgage (collectively “Mortgage”) in favor of Countrywide Home Loans Servicing LP

   (“Lender”) secured by Ms. Daniels’ home, which is located at 3927 Dunaire Drive, Valrico,

   FL 33594 (“Property”).


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             9.    Ms. Daniels thereafter encountered financial difficulties and fell behind on

   her monthly installment payments to the Lender, defaulting on the Mortgage.

             10.   On March 19, 2009, Ms. Daniels entered into a Mortgage modification

   agreement (“Loan Modification Contract”) with the Lender. See Exhibit A.

             11.   The Loan Modification Contract required that Ms. Daniels remit monthly

   installment payments of $813.25 to the Lender. See Exhibit A.

             12.   For over a year, Ms. Daniels timely paid each monthly installment payment

   as required by the Loan Modification Contract without issue.

             13.   Sometime thereafter, however, the Mortgage was sold, transferred, or

   assigned to Wells Fargo Bank, N.A. (“Wells Fargo”).

             14.   On or around June 24, 2010, Wells Fargo refused to accept Ms. Daniels’

   monthly installment payment towards the Mortgage.

             15.   Under information and belief, Defendant was assigned the mortgage

   servicing rights after the Mortgage allegedly fell into default status after June 24, 2010.

             16.   Wells Fargo thereafter continued to refuse to accept Ms. Daniels’ monthly

   installment payments, which caused the alleged default on the Mortgage.

             17.   As a result of Wells Fargo’s refusal to accept Ms. Daniels’ monthly

   installment payments towards the Mortgage, Wells Fargo brought a foreclosure action

   against Ms. Daniels; see Hillsborough County Case No. 2010-CA-13411 (“Foreclosure

   Case”).

             18.   At all times relevant hereto, Defendant was and is the Mortgage servicer in

   the Foreclosure Case.




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          19.      In the Foreclosure Case, Ms. Daniels moved to enforce the terms of the Loan

   Modification Contract to require that Wells Fargo and Defendant accept Ms. Daniels’

   monthly installment payments towards the Mortgage and for sanctions against Defendant.

          20.      On December 27, 2015, the Foreclosure Case court denied foreclosure and

   found in Ms. Daniels’ favor, entering an Order Granting Ms. Daniels’ Motion to Enforce

   Loan Modification Contract (“Modification Enforcement Order”). See Exhibit B.

          21.      Then, on April 23, 2016, the Foreclosure Case court entered an Order on

   Defendant’s Motion for Clarification and for Sanctions, Defendant’s Motion for Attorneys’

   Fees, and Plaintiff’s Motion to Deposit Funds in the Court registry (“Order”). See Exhibit

   C.

          22.      Relevant hereto, the Order provides that Ms. Daniels shall begin making

   payments pursuant to the Loan Modification Contract on April 27, 2016, which will be her

   May 1, 2016 payment towards the Mortgage. See Exhibit C.

          23.      Further, the Order states that Ms. Daniels’ new payments will be calculated

   pursuant to the interest rates set forth in the Loan Modification Contract. See Exhibit C.

          24.      The Order also states that interest due from payments for the period of

   January 1, 2016 through April 1, 2016 will be added to the end of the Loan Modification

   Contract. See Exhibit C.

          25.      Finally, the Order states that the principal and escrow payments for the

   period of August 1, 2010 through April 1, 2016 will also be added to the end of the Loan

   Modification Contract. See Exhibit C.




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          26.      Under information and belief, the additional interest, principal, and escrow

   payments pursuant to the Order added approximately $40,000.00 to the end of the Loan

   Modification Contract.

          27.      After entry of the Order, however, Defendant increased the principal balance

   of the Mortgage by $82,000.00.

          28.      Defendant’s $82,000.00 increase of the Mortgage balance is improper

   because it is more than double the balance that should have been added to the end of the

   Loan Modification Contract pursuant to the Order.

          29.      On or around October 2, 2017, Ms. Daniels, through her counsel, sent a letter

   to Defendant demanding a specific line-by-line accounting of the $82,000.00 (“Demand

   Letter 1”). See Exhibit D.

          30.      Defendant did not respond to Ms. Daniels’ Demand Letter 1.

          31.      On or around December 22, 2017, Ms. Daniels, through her counsel, sent a

   second letter to Defendant demanding a specific line-by-line accounting of the $82,000.00

   (“Demand Letter 2”). See Exhibit E.

          32.      Defendant never responded to Ms. Daniels’ Demand Letter 2, either.

          33.      To date, Defendant has not provided any support for the deferred balance of

   over $82,000.00 that is allegedly owed by Ms. Daniels on the Mortgage (“Debt”).

          34.      Under information and belief, Defendant cannot provide support for the

   alleged Debt because it is improperly applied to Ms. Daniels’ Mortgage.

          35.      At all times material hereto, Defendant had actual knowledge that the terms

   of the Modification Enforcement Order and the Order does not provide for the alleged Debt

   to be added to the principal balance of the Mortgage.


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            Count 1: Violation of the Fair Debt Collection Practices Act (“FDCPA”)

          36.      Ms. Daniels re-alleges Paragraphs 1-35 and incorporates the same herein by

   reference.

          37.      Ms. Daniels is a “consumer” within the meaning of the FDCPA.

          38.      The alleged mortgage debt is a “consumer debt” within the meaning of the

   FDCPA.

          39.      Defendant is a “debt collector” within the meaning of the FDCPA.

          40.      Defendant violated the FDCPA. Defendant’s violations include, but are not

   limited to, the following:

                   a. Defendant violated 15 U.S.C. § 1692d by improperly

                       servicing Ms. Daniels’ Mortgage despite Ms. Daniels’

                       multiple attempts to demand a line-by-line accounting of

                       the Debt, the natural consequence of which is to harass,

                       oppress, or abuse Ms. Daniels in connections with

                       collection of the Debt.

                   b. Defendant violated 15 U.S.C. § 1692e (2)(A) by falsely

                       representing the amount the Debt by increasing the

                       Mortgage balance by $82,000.00 without cause, falsely

                       representing the legal status of the Debt as owed by Ms.

                       Daniels when the terms of the Order do not provide for

                       such a significant increase of the Mortgage balance.

                   c. Defendant also violated 15 U.S.C. § 1692e (10) by using

                       false representations in attempts to collect the alleged Debt


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                       when Defendant suddenly demanded payment of the Debt

                       after entry of the Order and refused to provide an

                       accounting of the Debt.

                   d. Defendant violated 15 U.S.C. § 1692f (1) by using unfair

                       or unconscionable means to collect the Debt when such

                       amount is not authorized by the Order or the Loan

                       Modification Contract.

           41.     As a result of the above violations of the FDCPA, Ms. Daniels has been

   subjected to illegal collection activities for which she has been damaged.

           42.     Defendant’s actions were either intentional or grossly negligent where Ms.

   Daniels attempted to notify Defendant of its improper servicing of Ms. Daniels’ Mortgage

   multiple times and Defendant still failed to correct its servicing errors. Defendant failed to

   follow any reasonable servicing standard that would prevent it from, for example, seeking

   the Debt in violation of the terms of the Loan Modification Contract and the Order. Instead,

   Defendant intentionally disregarded Ms. Daniels’ attempts to correct the situation, which

   has caused Ms. Daniels extreme emotional distress. Ms. Daniels, through her counsel, has

   contacted Defendant regarding the improper servicing of the Mortgage, which Defendant

   intentionally disregarded.

           43.     Defendant’s actions have harmed Ms. Daniels by causing her embarrassment.

           44.     Defendant’s actions have harmed Ms. Daniels by causing her emotional

   distress.

           45.     Defendant’s actions have harmed Ms. Daniels by causing her anxiety.




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          46.      Defendant’s actions have harmed Ms. Daniels by causing her aggravation

   and annoyance.

          47.      Defendant’s actions have harmed Ms. Daniels by harming her reputation.

          48.      It has been necessary for Ms. Daniels to retain the undersigned counsel to

   prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

          49.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against

   Defendant as follows:

                   a. Awarding statutory damages as provided by 15 U.S.C. 1692k(a)(2)(A)

                       for each Plaintiff;

                   b. Awarding actual damages;

                   c. Awarding costs and attorneys’ fees; and

                   d. Any other and further relief as this Court deems equitable.

       Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)

          50.      Ms. Daniels re-alleges Paragraphs 1-35 and incorporates the same herein by

   reference.

          51.      Defendant violated the FCCPA. Defendant’s violations include, but are not

   limited to, the following:

                   a. Defendant violated Fla. Stat. § 559.72 (7) by willfully

                       failing to properly service Ms. Daniels mortgage when

                       Defendant demanded payment of the Debt when no such

                       Debt can properly be owed pursuant to the Loan

                       Modification Contract and the Order.


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                   b. Defendant violated Fla. Stat. § 559.72 (9) by claiming and

                       attempting to enforce the Debt when Defendant knows

                       that the Debt is not legitimate and that Defendant does not

                       have the legal right to pursue the Debt pursuant to the

                       terms of the Loan Modification Contract and the Order.

           52.     As a result of the above violations of the FCCPA, Ms. Daniels has been

   subjected to illegal collection activities and harassment for which she has been damaged.

           53.     Defendant’s actions were done with malicious intent and with a reckless

   disregard of Ms. Daniels’ rights, where Ms. Daniels attempted to notify Defendant of its

   improper servicing of Ms. Daniels’ Mortgage multiple times and Defendant still failed to

   correct its servicing errors. Defendant failed to follow any reasonable servicing standard that

   would prevent it from, for example, seeking the Debt in violation of the terms of the Loan

   Modification Contract and the Order. Instead, Defendant intentionally disregarded Ms.

   Daniels’ attempts to correct the situation, which has caused Ms. Daniels extreme emotional

   distress. Ms. Daniels, through her counsel, has contacted Defendant regarding the improper

   servicing of the Mortgage, which Defendant intentionally disregarded.

           54.     Defendant’s actions have harmed Ms. Daniels by causing her embarrassment.

           55.     Defendant’s actions have harmed Ms. Daniels by causing her emotional

   distress.

           56.     Defendant’s actions have harmed Ms. Daniels by causing her anxiety.

           57.     Defendant’s actions have harmed Ms. Daniels by causing her aggravation

   and annoyance.

           58.     Defendant’s actions have harmed Ms. Daniels by harming her reputation.


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          59.      It has been necessary for Ms. Daniels to retain the undersigned counsel to

   prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

          60.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against

   Defendant as follows:

                   a. Awarding statutory damages as provided by Fla. Stat.

                       §559.77;

                   b. Awarding actual damages;

                   c. Awarding punitive damages;

                   d. Awarding costs and attorneys’ fees;

                   e. Ordering an injunction preventing further wrongful

                       contact by the Defendant; and

                   f. Any other and further relief as this Court deems equitable.




                                    DEMAND FOR JURY TRIAL

       Plaintiff, CONSTANCE DANIELS, demands a trial by jury on all issues so triable.




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           Respectfully submitted this August 27, 2018,

                                                     /s/ Michael A. Ziegler
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                                                     /s/ Kaelyn Steinkraus
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                                                     Attorneys and Trial Counsel for Plaintiff




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 27 day of August, 2018, I electronically filed the
   foregoing with the Clerk of the Court by using the CM/ECF system, which will send a
   notice of electronic filing to all counsel of record.




                                                     /s/ Kaelyn Steinkraus
                                                     Kaelyn Steinkraus, Esq.
                                                     Florida Bar No. 125132




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